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 6                         IN THE UNITED STATES BANKRUPTCY COURT
 7                                  FOR THE DISTRICT OF ARIZONA
 8         In re:                                              Chapter 11
 9         GPMI, CO., an Arizona corporation,                  Case No. 2:22-bk-00150-EPB
10         EIN XX-XXXXXXX
11                                 Debtor.
12

13

14                     INTERIM ORDER (I) AUTHORIZING SECURED
          POST-PETITION FINANCING AND FACTORING AGREEMENT ON A SUPER
15                                   PRIORITY
                   BASIS PURSUANT TO 11 U.S.C. §§ 363, 364, AND 507(b);
16               (II) GRANTING RELATED RELIEF; (III) SCHEDULING A
                      FINAL HEARING PURSUANT TO BANKRUPTCY
17           RULE 4001; AND (IV) AUTHORIZING USE OF CASH COLLATERAL

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              This matter comes before the Court pursuant to the DEBTOR’S EMERGENCY

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     MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS (I) AUTHORIZING DEBTOR

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     TO (A) OBTAIN POSTPETITION FACTORING AND FINANCING AND (B) UTILIZE

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     CASH           COLLATERAL,         (II)    GRANTING          LIENS       AND      SUPERPRIORITY

22
     ADMINISTRATIVE EXPENSE CLAIMS, (III) GRANTING ADEQUATE PROTECTION,

23
     (IV) SCHEDULING A FINAL HEARING, AND (V) GRANTING RELATED RELIEF (the

24
     “Motion”) filed by Debtor on behalf of its bankruptcy estate (the “Estate”), the debtor and

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     debtor-in-possession in the above-captioned Case.1

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         Capitalized terms not defined herein shall have the meanings ascribed to them in the Motion.


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 1          In the Motion, pursuant to §§ 363, 364 and 507(b) of Title 11 of the United States Code,
 2   11 U.S.C. §§101, et seq. (as amended, the “Bankruptcy Code”) and Rules 2002, 4001(c) and
 3   9014 of the Federal Rules of Bankruptcy Procedure and Local Rule 4001-4 of the Local
 4   Bankruptcy Rules for the District of Arizona, Debtor requests authorization to enter into post-
 5   petition financing and a factoring agreement (collectively, the “DIP Facility”) from FSW
 6   Funding (“DIP Lender”) in the form of a factoring agreement and secured credit facility of up
 7   to an aggregate principal amount of $2.5 million under the terms and conditions of a Factoring
 8   and Security Agreement, Addendums A and B thereto, and a Loan and Security Agreement
 9   (collectively, the “DIP Loan Documents”), attached hereto as Exhibit 1.
10          Debtor also requests that a final hearing (the “Final Hearing”) be scheduled by this
11   Court to consider entry of a final order (the “Final Order”) authorizing on a final basis, inter
12   alia, the DIP Facility. The Debtor requests authority to use up to $330,255.64 of the DIP Facility
13   pursuant to this Interim Order and the remaining monies up to an aggregate principal amount
14   of $2.5 million pursuant to the Final Order.
15          After due and sufficient notice of the Motion under the circumstances having been given
16   for interim relief; and a Preliminary Hearing on the Motion (the “Preliminary Hearing”)
17   having been held before this Court on January 11, 2022 at 2:00 pm, and upon the entire record
18   made at the Preliminary Hearing, including the Declaration of Yarron Bendor in Support of
19   Debtor’s Chapter 11 Petitions and First Day Motions and Supplemental Declaration of Yarron
20   Bendor in Support of Debtor’s Chapter 11 Petitions and First Day Motions submitted in
21   support of the Motion, and all other evidence and argument presented at the Preliminary
22   Hearing; and this Court having found good and sufficient cause appearing therefor;
23          IT IS HEREBY FOUND AND CONCLUDED that:
24          A.     On January 10, 2022 (the “Petition Date”), Debtor filed a voluntary petition for
25   relief under chapter 11 of the Bankruptcy Code, commencing the Case.
26          B.     This Court has jurisdiction over the Case and the Motion pursuant to 28 U.S.C.
27   §§157(b) and 1334. The Motion presents a core proceeding as defined in 28 U.S.C. §157(b)(2).


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 1             C.   Debtor does not have sufficient available sources of working capital and
 2   financing to carry on the operation of the Estate’s business without the DIP Facility. The ability
 3   of Debtor to pay employees, maintain business relationships with vendors and suppliers is
 4   essential to the continued viability of the businesses.
 5             D.   In addition, Debtor’s critical need for use of cash collateral, factoring and
 6   financing is immediate. Without the use of cash collateral and approval of the DIP Facility, the
 7   continued operation of Debtor’s business would not be possible, and serious and irreparable
 8   harm to the Estate and its creditors would occur.
 9             E.   To the extent any Prepetition Lien Creditors have an interest in Debtor’s cash
10   collateral, they have either consented to Debtor’s use of cash collateral or are otherwise
11   adequately protected by the ongoing payments proposed under the Budget and the continuation
12   of Debtor’s business operations and the preservation of the going concern value of Debtor’s
13   assets.
14             F.   Debtor is unable to sustain its business with only the use of cash collateral and is
15   unable to obtain unsecured credit allowable under Bankruptcy Code §503(b)(1) as an
16   administrative expense. Debtor is unable to obtain the needed post-petition financing on terms
17   more favorable than those of the DIP Facility.
18             G.   Based on the record before this Court, adequate notice for the interim relief
19   requested in the Motion has been given pursuant to Bankruptcy Code §§102(1) and 364(c), and
20   Bankruptcy Rules 2002 and 4001(c).
21             H.   Based on the record before this Court, it appears that the DIP Facility has been
22   negotiated in good faith and at arms-length between Debtor and DIP Lender, and any sales of
23   receivables, credit extended, and loans made pursuant to this Order shall be deemed to have
24   been extended, issued or made, as the case may be, in good faith as required by, and within the
25   meaning of, Bankruptcy Code §§ 363(m) and 364(e) and DIP Lender is entitled to the
26   protections of Bankruptcy Code §§ 363(m) and 364(e).
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 1          I.     Based on the record before this Court, it appears that the terms of the DIP Facility
 2   are fair and reasonable, reflect Debtor’s exercise of prudent business judgment consistent with
 3   its fiduciary duties, and are supported by reasonably equivalent value and fair consideration.
 4          J.     Debtor has requested immediate entry of this Interim Order pursuant to
 5   Bankruptcy Rule 4001(c)(2). The permission granted herein to enter into the DIP Facility and
 6   obtain funds thereunder is necessary to avoid immediate and irreparable harm to the Estate.
 7   This Court concludes that entry of this Order is in the best interests of the Estate and its creditors
 8   because its implementation, among other things, will allow for the availability to Debtor of
 9   working capital which is necessary to sustain the operations of Debtor’s existing business.
10          K.     Each of the foregoing findings by the Court will be deemed a finding of fact if
11   and to the full extent that it makes and contains factual findings and a conclusion of law if and
12   to the full extent that it makes legal conclusions.
13          Based upon the foregoing findings and conclusions, and upon the record made before
14   this Court at the Preliminary Hearing, and good and sufficient cause appearing therefor;
15          IT IS HEREBY ORDERED that:
16          1.     The Motion is granted on an interim basis, subject to the terms and conditions set
17   forth in this Order. All objections to the entry of this Interim Order have either been resolved
18   as stated on the record at the Preliminary Hearing, or shall be, and hereby are, overruled. This
19   Order does not affect the right of any party to object to Debtor’s request for entry of a Final
20   Order, provided that, as to advances made by DIP Lender under the DIP Facility between the
21   Preliminary Hearing and Final Hearing, the Final Order shall not disturb the super-priority
22   treatment of the advances nor the priority of DIP Lender’s liens securing the same as set forth
23   in paragraphs 13-16 of this Order.
24          2.     Debtor may use cash collateral only as provided in this Interim Order.
25          3.     Debtor’s use of Cash Collateral is limited to payment of ordinary and necessary
26   expenditures exemplified in the Budget attached hereto as Exhibit 2. The authorization granted
27   to Debtor to use cash collateral under this Interim Order will terminate upon the conclusion of


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 1   the Final Hearing, unless otherwise extended by Court order or agreement of all creditors
 2   claiming an interest in Debtor’s cash collateral.
 3          4.     The execution and delivery of the DIP Loan Documents by Debtor is hereby
 4   authorized and approved.
 5          5.     Debtor is authorized and empowered to execute and deliver to DIP Lender any
 6   other document of any kind required to be executed and delivered in connection with the DIP
 7   Facility, including final DIP Facility loan documents and security agreements (collectively, the
 8   Final DIP Facility Agreements”), subject to approval by the Final Order.
 9          6.     Drafts of the proposed Final DIP Facility Agreements shall be filed with the court
10   at least five (5) days prior to the date of the Final Hearing.
11          7.     Debtor is authorized and obligated to comply with and perform all of the terms
12   and conditions contained in the DIP Loan Documents and this Order and repay amounts owing,
13   with interest and any other charges, to DIP Lender in accordance with and subject to the terms
14   and conditions set forth in the DIP Loan Documents and this Order.
15          8.     Upon entry and subject to the terms of the Final Order, Debtor is further
16   authorized and obligated to pay all fees and expenses, including, without limitation, all fees set
17   forth in the DIP Loan Documents and all reasonable fees and expenses of professionals engaged
18   by DIP Lender in accordance with the terms of the DIP Loan Documents.
19          9.     All advances under the DIP Facility made pursuant to the DIP Loan Documents
20   and this Order, and interest thereon, and all fees, costs, expenses, indebtedness, obligations and
21   liabilities of the Estate to DIP Lender under the DIP Loan Documents and this Order constitute
22   claims and are referred to herein as Super-Priority Claims. The Super-Priority Claims are
23   defined herein as the “Obligations”.
24          10.    Debtor is authorized to obtain funding from DIP Lender, on the terms and subject
25   to the conditions set forth in the DIP Loan Documents as modified by this Order, an amount up
26   to $330,255.64 pursuant to this Interim Order and up to a total principal amount of $2.5 million
27   of upon entry of the Final Order.


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 1                   a.      Collectively, all DIP Loan advances, all of the Estate’s business revenues
 2   collected, and all other cash or cash proceeds of Collateral held by the Debtor at any time will
 3   be referred to as the “Estate Funds.” The Debtor are authorized to use the Estate Funds only
 4   to pay ordinary and necessary operating expenses for the Estates’ businesses as set forth in a
 5   budget prepared by the Debtor and approved by DIP Lender (the “Budget”), and such other
 6   expenses consented to in writing by DIP Lender. A copy of the initial Budget is attached hereto
 7   as Exhibit 2.
 8          11.      Debtor shall promptly deposit, sequester and segregate all Estate Funds the Estate
 9   holds or receives in one or more Estate cash collateral accounts (collectively, the “Cash
10   Collateral Accounts”) established by the Debtor at a financial institution acceptable to DIP
11   Lender and the Office of the United States Trustee (the “UST”). The Cash Collateral Accounts
12   or any Controlled Account (as defined in the DIP Loan Documents) shall be established at
13   authorized depository institutions from the list of approved institutions maintained by the UST.
14   All funds in the Cash Collateral Account shall be deemed to be Collateral securing the
15   Obligations. Debtor may use Estate Funds in the Cash Collateral Account only in accordance
16   with the terms and conditions stated in this Order.
17          12.      Repayment of the DIP Facility shall be according to the following terms:
18                   a. Factoring Facility: Payments on the factoring facility will be made in the
19                        ordinary course as collected or otherwise swept from Debtor’s Cash Collateral
20                        Accounts upon payment by the account debtor. All fees accrued with respect
21                        to each factored invoice will be collected and applied and the net shall be
22                        released to Debtor at least twice each month as set forth in the DIP Loan
23                        Documents.
24                   b. Inventory Facility: Interest only payments on the Inventory Facility will be
25                        made on a monthly basis by Debtor and may be paid from net receipts
26                        otherwise due to Debtor under the Factoring Facility.
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 1          13.    In accordance with Bankruptcy Code §§364(c)(1) and 507(b), the Obligations,
 2   shall constitute claims (the “Super-Priority Claims”) with priority in payment over any and
 3   all administrative expenses of the kinds specified or ordered pursuant to any provision of the
 4   Bankruptcy Code, including, but not limited to, Bankruptcy Code §§105, 326, 328, 330, 331,
 5   503(b), 506(c), 507(a), 507(b) and 546(c), and subject only to the Carve-Out (defined in
 6   paragraph 16 below), shall at all times be senior to the rights of Debtor, the Estate, any or other
 7   Estate representative appointed in the Case, or any other administrative creditor in the Case.
 8   No cost or expense of administration under Bankruptcy Code §§105, 364(c)(1), 503(b), 506(c),
 9   507(b) or otherwise, shall be senior to, equal to, or pari passu with, the Super-Priority Claims
10   of DIP Lender arising out of the Obligations, subject only to the Carve-Out (defined in
11   paragraph 16 below).
12          14.     As security for the Obligations, DIP Lender shall have and is hereby granted
13   (effective and continuing without the necessity of the execution, filing and/or recordation of
14   mortgages, security agreements, control agreements, patent security agreements, trademarks
15   security agreements, pledge agreements, financing statements or otherwise), valid and
16   perfected security interests and liens (the “Liens”) in all present and after-acquired personal
17   and real property of the Debtor and its Estates (collectively, the “Collateral”). The Collateral
18   does not include any avoidance actions arising under Chapter 5 of the Bankruptcy Code, except
19   for Bankruptcy Code section 549 causes of action, but expressly includes all causes of action
20   held by Debtor prepetition other than those claims, rights, causes of actions, affirmative
21   defenses and other rights arising with respect to the claims in the Michelin Litigation and
22   proceeds therefrom.
23          15.    The Liens in the Collateral held by or granted to DIP Lender as security for the
24   Obligations shall have the following priority:
25
                    (a)    DIP Lender’s Liens in all Collateral arising from and after the
26          Petition Date, including without limitation all accounts generated from and
            after the Petition Date, all Estate Funds received by Debtor (or any trustee)
27          on or after the Petition Date, and all inventory of Debtor existing as of or


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 1         acquired on or after the Petition Date, shall be first priority, senior, perfected
 2         Liens securing the full amount of the Obligations;

 3                (b)     DIP Lender’s Liens in the Collateral that is not otherwise
           encumbered by a valid and perfected, non-avoidable security interest or lien
 4         prior and superior to the liens and security interests held by DIP Lender shall
 5         be first priority, senior, perfected Liens securing the full amount of the
           Obligations, except that DIP Lender is hereby granted a first priority priming
 6         lien as to statutory, filed, and all other liens and claims of Debtor’s
           Prepetition Lien Creditors other than with respect to the timely and properly
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           perfected first priority liens of the Equipment Lenders as to the Equipment
 8         Collateral. DIP Lender’s Liens on the Equipment Collateral shall be junior
           to those of the Equipment Lenders.
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           16.    The Liens and Super-Priority Claims granted to DIP Lender pursuant to this
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     Order shall be subject only to the following (collectively, the “Carve-Out”):
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12                (a)    A limited carve-out from the Collateral is established for the
           payment of allowed professional fees and disbursements by the professionals
13         retained, pursuant to Bankruptcy Code §§ 327 or 1103(a) by the Debtor, only
           with respect to and up to the amount of such professionals’ pre-petition
14         retainers, and any unpaid fees of the United States Trustee, only in such
15         amounts and pursuant to the timing set forth in the Budget (subject to
           approval of future budgets) (collectively, the “Professional Fees”).
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                  (b)    The Carve-Out will not be available if and to the extent that the
           Estates have other unencumbered or less than fully encumbered assets
18         available to pay Professional Fees.
19                (c)     None of the Loans or other Estate Funds and none of the cash
           collateral subject to liens or security interests in favor of DIP Lender
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           (notwithstanding the Carve-Out) may be used to fund any action (as opposed
21         to investigatory efforts) to: (i) object to or contest in any manner, or raise any
           defenses to the validity, perfection, priority or enforceability of the
22         Obligations owing to DIP Lender, or the Liens in favor of DIP Lender
23         securing such Obligations; or (ii) assert any claims or causes of action against
           DIP Lender or its attorneys of any type, including, without limitation, any
24         avoidance actions under Chapter 5 of the Bankruptcy Code, or any claim or
           cause of action against DIP Lender in its capacity as lender under the DIP
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           Facility or otherwise.
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 1           17.   No person will be permitted to surcharge the Collateral under Bankruptcy Code
 2   § 506(c) or to obtain a lien with respect to the Collateral which is equal or senior to the Liens
 3   of DIP Lender on the Collateral.
 4           18.   Debtor has waived and released, and are barred from asserting, a claim under
 5   Bankruptcy Code § 506(c) for any costs and expenses incurred in connection with the
 6   preservation, protection or enhancement of, or realization by DIP Lender upon, the Collateral.
 7   DIP Lender will not be subject to the equitable doctrine of “marshaling” or any other similar
 8   doctrine with respect to any of the Collateral. Upon entry of the Final Order, the post-petition
 9   Liens granted to DIP Lender on the Collateral by virtue of this Order will be (and hereby are)
10   adjudicated valid, and perfected as against all third parties, without regard to applicable federal,
11   state, or local filing or recording statutes, nunc pro tunc as of the Petition Date, and without
12   further action of any party, including DIP Lender; provided, that DIP Lender may, but need
13   not, take such steps as it deems desirable and applicable to comply with such statutes, and all
14   financing statements which are filed listing Debtor as debtor and DIP Lender as secured party,
15   all mortgages or similar instruments which are filed granting to DIP Lender post-petition liens
16   upon and security interests in Collateral shall be deemed to have been filed and the security
17   interest and liens evidenced thereby will be deemed perfected nunc pro tunc as of the Petition
18   Date.
19           19.   Upon entry of the Final Order, Debtor is authorized to perform all acts, and
20   execute and comply with the terms of such other documents, instruments and agreements in
21   addition to the DIP Facility Agreements, as DIP Lender may reasonably require, as evidence
22   of and for the protection of the Obligations, or which otherwise may be deemed reasonably
23   necessary by DIP Lender to effectuate the terms and conditions of the Final Order and the DIP
24   Facility Agreements. The Final Order may provide that the Debtor and DIP Lender are hereby
25   authorized to implement any non-material modifications of the DIP Facility Agreements
26   without further order of this Court.
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 1          20.    Without limiting the rights of access and information afforded DIP Lender under
 2   the DIP Loan Documents, Debtor shall afford representatives, agents and/or employees of DIP
 3   Lender access to Debtor’s premises and records and shall cooperate, consult with, and provide
 4   to such persons all such non-privileged information and information not subject to a binding
 5   confidentiality agreement, as they may reasonably request. Debtor shall also provide to DIP
 6   Lender, at the time filed or provided, all statements, schedules or financial reports that Debtor
 7   files in the Case or provides to UST in accordance with applicable rules or guidelines of the
 8   UST.
 9          21.    Based on the record presented, this Court has found that DIP Lender is extending
10   credit, purchasing accounts, and making Loans to the Estate in good faith. Accordingly, DIP
11   Lender is entitled to the full protection of Bankruptcy Code §§ 363(m) and 364(e) with respect
12   to the Obligations and the Liens created, adjudicated or authorized by this Order in the event
13   that this Order or any finding, adjudication, or authorization contained herein is reversed or
14   modified on appeal.
15          22.    The Super-Priority Claims and Liens shall maintain their priority as provided by
16   this Order until all of the Obligations are paid indefeasibly and in full.
17          23.    Notwithstanding anything else in this Order, DIP Lender’s interests in accounts
18   receivable factored for Debtor under its prepetition financing arrangements shall retain the
19   characterization as factored accounts held by FSW outside of the bankruptcy estate, including,
20   without limitation all accounts receivable factored by DIP Lender prepetition for Aldi. In the
21   event that Debtor receives payment from Aldi (or any other account debtor) on account of
22   accounts receivable factored by DIP Lender prepetition, such funds shall not be used by Debtor
23   for any purposes and shall be transferred to DIP Lender promptly upon their receipt for
24   administration under the prepetition financing documents. Furthermore, such prepetition funds,
25   being in the nature of factoring, are not property of the estate nor subject to the automatic stay
26   of Bankruptcy Code § 362(a), and can be administered in the ordinary course pursuant to the
27   terms of the prepetition financing arrangements between DIP Lender and Debtor.


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 1          24.    DIP Lender shall be deemed to be a party-in-interest for all purposes in the Case
 2   with the right and opportunity to appear and be heard on all matters arising in the Case,
 3   including, without limitation, (i) the employment and payment of professionals by Debtor or
 4   the Estate, (ii) the sale of any Estate property, (iii) any plan of reorganization proposed in the
 5   Case, and (iv) any proposed conversion or dismissal of the Case.
 6          25.    The provisions of this Order shall be binding upon and inure to the benefit of DIP
 7   Lender, Debtor (and its Estate), and their respective successors and assigns, including any
 8   trustee or fiduciary hereafter appointed in the Case as a legal representative of the Estate.
 9   References to “Debtor” or the “Estate” in this Order shall include Debtor, the Estate, and any
10   and all subsequently appointed trustee or other Estate representative.
11          26.    If there is any conflict between the terms of the DIP Loan Documents and/or the
12   DIP Facility Agreements on the one hand and the provisions of this Order on the other hand,
13   the provisions of this Order shall control.
14          27.    Within three (3) business days of entry of this Order, Debtor shall mail a copy of
15   this Order, and a Notice of the Final Hearing in a form acceptable to Debtor and DIP Lender
16   (the “Notice”) to the UST, all creditors (including, without limitation, the IRS and other taxing
17   authorities) known to Debtor who may have or assert liens, security interests or other charges
18   or interests against the Estate’s assets, to all of the Estate’s landlords, mortgagees and secured
19   creditors, to the twenty (20) largest unsecured creditors in each of the Bankruptcy Cases, to any
20   other party or counsel that has filed a request for notices with this Court, and to counsel for any
21   statutory committee of unsecured creditors appointed pursuant to Bankruptcy Code § 1102.
22          28.    Any party in interest objecting to the Court’s entry of a Final Order as
23   requested by Debtor shall file a written objection with the United States Bankruptcy
24   Court Clerk no later than on _____________, 2022, which objection shall be served so that
25   it is received by the Court, the UST, counsel to Debtor, and counsel to DIP Lender on or before
26   such date and time.
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 1            29.   A Final Hearing to consider the Motion will be held before the Court on
 2   January 21, 2022 at 10 a.m.
 3            30.   The Court has and will retain jurisdiction to enforce this Order according to its
 4   terms.
 5                                  DATED AND SIGNED ABOVE
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